     Case 6:15-cv-00013-JRH-GRS Document 26 Filed 03/24/15 Page 1 of 7




              IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF GEORGIA
                      STATESBORO DIVISION


FREEDOM FROM RELIGION                )
FOUNDATION, INC., et al.,            )
                                     )
     Plaintiffs,                     )
                                     )
v.                                   )        CIVIL ACTION FILE NO.
                                     )        6:15-cv-00013-BAE-GRS
EMANUEL COUNTY SCHOOL                )
DISTRICT (A/K/A “Emanuel             )
County Schools”), et al.,            )
                                     )
     Defendants.                     )


     CONSENT MOTION TO EXTEND TIME FOR DEFENDANT CEL
        THOMPSON TO ANSWER OR OTHERWISE RESPOND
          TO PLAINTIFFS’ FIRST AMENDED COMPLAINT

     COMES NOW, Cel Thompson, a Defendant in the above-referenced civil

action, and files this, her Consent Motion to Extend Time for her to Answer or

Otherwise Respond to Plaintiffs’ First Amended Complaint.             Defendant

Thompson shows this Court as follows:

                                         1.

     Plaintiffs filed their original Complaint on February 9, 2015.
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                                       2.

      Plaintiffs filed their First Amended Complaint on March 5, 2015.

                                       3.

      Defendant Thompson was served on March 9, 2015.

                                       4.

      The deadline for Defendant Thompson to answer or otherwise respond to the

First Amended Complaint currently is March 30, 2015.

                                       5.

      Defendant Thompson’s counsel needs additional time to obtain and review

information needed to prepare Defendant Thompson’s response to the First

Amended Complaint.

                                       6.

      The deadline for Defendants Emanuel County School District and Kevin

Judy to answer or otherwise respond to Plaintiffs’ First Amended Complaint

currently is April 10, 2015.

                                       7.

      Accordingly, Defendant Thompson respectfully requests an extension of

time through and including April 10, 2015 to answer or otherwise respond to

Plaintiffs’ First Amended Complaint.
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                                      8.

     Plaintiffs consent to the extension of time requested by Defendant

Thompson.

                                      9.

     A proposed Order is attached for the Court’s convenience.



                                    Respectfully Submitted,


                                    FREEMAN MATHIS & GARY, LLP


                                    \s\ William H. Buechner, Jr.
                                    Mary Anne Ackourey
                                    Georgia Bar No. 001555
                                    William H. Buechner, Jr.
                                    Georgia Bar No. 086392

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                                    Counsel for Defendant Cel Thompson
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CONSENTED TO BY:


                    __________________
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Samuel T. Grover (pro hac vice)
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Counsel for Plaintiffs
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                       STATESBORO DIVISION


FREEDOM FROM RELIGION                 )
FOUNDATION, INC., et al.,             )
                                      )
      Plaintiffs,                     )
                                      )
v.                                    )     CIVIL ACTION FILE NO.
                                      )     6:15-cv-00013-BAE-GRS
EMANUEL COUNTY SCHOOL                 )
DISTRICT (A/K/A “Emanuel              )
County Schools”), et al.,             )
                                      )
      Defendants.                     )


                                    ORDER

      For good cause shown, it is hereby ORDERED that the time for Defendant Cel

Thompson to answer or otherwise respond to the First Amended Complaint is

extended through and including April 10, 2015.

      SO ORDERED this _____ day of March 2015.


                               ______________________________________
                               G.R. SMITH
                               UNITED STATES MAGISTRATE JUDGE
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                       STATESBORO DIVISION


FREEDOM FROM RELIGION                 )
FOUNDATION, INC., et al.,             )
                                      )
      Plaintiffs,                     )
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v.                                    )     CIVIL ACTION FILE NO.
                                      )     6:15-cv-00013-BAE-GRS
EMANUEL COUNTY SCHOOL                 )
DISTRICT (A/K/A “Emanuel              )
County Schools”), et al.,             )
                                      )
      Defendants.                     )


                         CERTIFICATE OF SERVICE

      I have this day electronically submitted the foregoing CONSENT MOTION
TO EXTEND TIME FOR DEFENDANT CEL THOMPSON TO ANSWER
OR OTHERWISE RESPOND TO PLAINTIFFS’ FIRST AMENDED
COMPLAINT to the Clerk of Court using the CM/ECF system which will
automatically send electronic mail notification of such filing to counsel of record
who are as follows:


                              Wallace R. Nichols
                        W.R. Nichols & Associates, P.C.
                        1532 Dunwoody Village Parkway
                                   Suite 205
                            Atlanta, Georgia 30338
         Case 6:15-cv-00013-JRH-GRS Document 26 Filed 03/24/15 Page 7 of 7




                                Samuel T. Grover
                                  Andrew Seidel
                         Freedom From Religion Foundation
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                                Madison, WI 53701

                                  Phillip L. Hartley
                                  Hieu M. Nguyen
                          Harben Hartley & Hawkins, LLP
                           Suite 750, Wells Fargo Center
                             340 Jesse Jewell Parkway
                              Gainesville, GA 30501


         This ___ day of March, 2015.

                                        \s\ William H. Buechner, Jr.
                                        William H. Buechner, Jr.
                                        Georgia Bar No. 086392
981065
